It is conceded that the evidence upon the whole case is sufficient to support the verdict; and the only point made is the alleged error in the cross-examination of the defendant. The direct examination of the defendant upon one particular point related to her possession, prior to her going to a moving picture show, of a pistol — the pistol with which it was alleged she committed the crime of murder charged against her. The direct examination unequivocally referred to this pistol and the defendant's possession of it. The court is satisfied that the cross-examination on that point was germane to the direct examination. The people were entitled to know what she did with the pistol prior to the shooting, and where she carried it on her person. There is no doubt at all in our minds but that the cross-examination on that subject was legitimate and proper and without any prejudice to the defendant; and that being the only point in the case, the judgment and order appealed from are affirmed. *Page 727 